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 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
 2   LAW OFFICES OF JAMES R. GREINER
     555 UNIVERSITY AVENUE, SUITE 290
 3   SACRAMENTO, CALIFORNIA 95825
     TELEPHONE: (916) 649-2006
 4   FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     RENE WRIGHT
 6
 7                 IN THE UNITED STATES DISTRICT COURT FOR THE
 8                         EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,                   )        CR-S-08-212-LKK
10                                               )
            PLAINTIFF,                           )        STIPULATION AND
11                                               )        ORDER TO CONTINUE JUDGMENT
            v.                                   )        AND SENTENCING TO
12                                               )        TUESDAY NOVEMBER 29, 2011
     RENE WRIGHT, et al.,                        )
13                                               )
                                                 )
14          DEFENDANTS.                          )
                                                 )
15   ______________________________              )
16
            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr.
17
     Richard Bender and defendant Ms. Rene Wright, by her attorney Mr. James R. Greiner, hereby
18
     stipulate and agree that the judgement and sentencing set for Tuesday, November 15, 2011, at
19
     9:15 a.m. before the Honorable Senior United States District Court Judge, Lawrence K. Karlton,
20
     may be continued to Tuesday, November 29, 2011, at 9:15 a.m..
21
            The Court’s courtroom deputy, Ms. Ana Rivas, has been contacted to ensure the Court’s
22
     calendar was available for that date and the Court is available on Tuesday, November 29, 2011.
23
            The defense is requesting this continuance, without objection from the government or
24
     probation, to allow the defendant to complete the terms of her plea agreement.
25
            The parties agree to the following Pre-Sentence Report disclosure dates:
26
27
28                                                    1
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 1          The Pre-Sentence Report shall be filed with the Court
            and disclosed to counsel no later than                                November 8, 2011
 2
            Motion for correction of the Pre-Sentence Report
 3          shall be filed with the Court and served on the Probation
            Officer and opposing counsel no later than:                   November 15, 2011
 4
            Reply or statement of non-opposition                          November 22, 2011
 5
            Judgment and sentencing date:                                 November 29, 2011
 6
 7
 8                                         Respectfully submitted,
                                           BENJAMIN B. WAGNER
 9                                         UNITED STATES ATTORNEY
10                                         /s/ RICHARD J. BENDER by e mail authorization
     DATED: 10-26-11                       _____________________________________
11                                         Richard J. Bender
                                           ASSISTANT UNITED STATE ATTORNEY
12                                         ATTORNEY FOR THE PLAINTIFF
13
     DATED: 10-26-11                       /s/ James R. Greiner
14                                         _______________________________________
                                           James R. Greiner
15                                         Attorney for Defendant
                                           Rene Wright
16
17                                                  ORDER
18
19
            For the reasons stated in the parties’ stipulation, the Court hereby orders that the date for
20
     sentencing is continued from November 15, 2011 to November 29, 2011 at 9:15 a.m., and the
21
     schedule for the disclosure of the Pre-Sentence Report is amended as set forth in the stipulation.
22
23
            FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
24
25   DATED: November 8, 2011.
26
27
28                                                      2
